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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

DAN BOGER,                                                 )
                               Plaintiff,                  )
       v.                                                  )                                 "RWI
                                                           )      Case NO.8: 16-cv-00 I962-P;JM-
FAST CAPITAL PARTNERS,           LLC                       )
                                                           )
                               Defendant.                  )
------------),

             NOTICE OF VOLUNTARY                    DISMISSAL   WITHOUT      PREJUDICE

        Pursuant to Rule 41 (a)(l )(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

provides notice of dismissal of his individual claims in this action without prejudice.


Plaintiff,
By Counsel,
Dated: September 20,2016                          By: lsi Anthony I. Paronich
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